     Case 1:20-cr-00213-KAM Document 84 Filed 08/19/20 Page 1 of 4 PageID #: 283




                                             August 19, 2020

By ECF and Email

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Quandel Smothers, 20 CR 213 (KAM) – Application for Pretrial Release

Your Honor:

        I represent Quandel Smothers in the above-referenced case under the Criminal Justice Act. I
respectfully submit this letter in support of Mr. Smothers’ application for pre-trial release on a $150,000
bond secured by his family’s home, co-signed by five sureties and subject to conditions including home
incarceration and GPS monitoring. As set forth more fully below, Mr. Smothers should be released
subject to the proposed bail conditions because they will reasonably assure both his appearance in court
and the safety of the community. Additionally, Mr. Smothers should be released on bail because he
suffers from underlying medical conditions, including asthma and the loss of his spleen and a kidney,
which increase his risk of serious illness from COVID-19 in an incarceratory setting. Finally, Mr.
Smothers has been denied regular contact with undersigned counsel because of conditions within the
MDC that go beyond the precautions against the spread of COVID-19.

       Mr. Smothers is charged in two counts of the indictment in this case: (1) Count One, which
charges Mr. Smothers and others with racketeering conspiracy; and (2) Count Two, which charges Mr.
Smothers with possession of a firearm during a drug trafficking crime. (See ECF Doc. No. 1). Notably,
Mr. Smothers has NOT been charged in connection with any of the violent offenses alleged in Counts
Three through Twenty of the indictment. On June 24, 2020, Mr. Smothers was arraigned before Chief
Magistrate Cheryl L. Pollak and did not make a bail application at that time. Judge Pollak granted Mr.
Smothers leave to present a bail package on a future date. (See ECF Doc. No. 14).

       Mr. Smothers now respectfully proposes the following bail package and conditions:

       1. a $150,000 bond secured by his mother’s home owned in Brooklyn, New York;

       2. five financially responsible co-signers who are family members and longtime friends of Mr.
          Smothers;

       3. home incarceration enforced by GPS monitoring;

       4. no contact with co-defendants except through counsel;
     Case 1:20-cr-00213-KAM Document 84 Filed 08/19/20 Page 2 of 4 PageID #: 284

Hon. Kiyo A. Matsumoto
August 19, 2020
Page 2

       5. supervision by Pretrial Services, including home inspections; and

       6. drug testing and, if necessary, treatment.

These conditions provide reasonable assurance of Mr. Smothers’ appearance and the safety of the
community.

        Although this is a presumption case because of the gun possession charge, the ultimate burden of
proof of risk of flight and danger to the community remains with the government. See United States v.
Martir, 782 F.2d 1141, 1144 (2d Cir. 1986). Here, the 18 U.S.C. § 3142(g) factors favor Mr. Smothers’
release subject to the bail package proposed above. While the charges against Mr. Smothers are serious,
the government’s case presents glaring inconsistencies. For example, the government contends that Mr.
Smothers is the highest-ranking member of an alleged street gang called Elite Assassin Millas. (See ECF
Doc. 83-1 at 2). Yet the government lacked probable cause to indict Mr. Smothers in connection with
any of the violent crimes that other alleged members of “E.A.M.” are accused of having committed
since 2015, including the alleged conspiracies to commit murder charged in Counts Nine and Seventeen.

        Nor has the government produced an iota of evidence that Mr. Smothers had any involvement in
the offenses alleged in the indictment or even that he was involved in a conspiracy with any of his co-
defendants. Even though the government has produced numerous surveillance videos and lab reports in
the general discovery in this case, none of that evidence concerns Mr. Smothers. Nor does Mr.
Smothers’ individual discovery contain a shred of proof of his involvement in the alleged racketeering
conspiracy or any of the substantive or conspiracy offenses that are alleged against his co-defendants.
There are no wiretapped conversations, no text messages, no social media posts, no PEN register data,
no surveillance videos, no photos, no police reports, no co-conspirator statements, no evidence of any
kind to support the government’s case. The government has merely proffered, without substantiation,
that Mr. Smothers shot another alleged member of “E.A.M.” in 2011 but ultimately “pled the charge
down to Attempted Criminal Possession of a Weapon in the Second Degree.” (ECF Doc. No. 83-1 at 2).
Although the government has indicated that it intends to retry that 2011 case, the discovery does not
contain any evidence that Mr. Smothers’ 2011 arrest was connected to the offenses alleged in this
indictment. In sum, the weight of the evidence against Mr. Smothers does not favor his continued
detention.

        While Mr. Smothers has a criminal history including convictions for attempted possession of a
firearm, his rap sheet does not tell the whole story of his life. Mr. Smothers has the strong support of his
family and friends, as demonstrated by his family’s willingness to use their home as collateral for his
bond. Mr. Smothers has also suffered great hardship in recent years as the result of a police shooting in
2014, for which he sued the City of New York and the officers who shot him without justification and
falsely claimed he had fired a weapon at them. (See Exhibit 1). The injuries Mr. Smothers sustained
were severe. He spent months in intensive care, and doctors removed his spleen and a kidney. Since
then, Mr. Smothers has focused on caring for his mother, who resides in a rehabilitation center in
Brooklyn, and his four children, who range in age from 4 months to 10 years old.
     Case 1:20-cr-00213-KAM Document 84 Filed 08/19/20 Page 3 of 4 PageID #: 285

Hon. Kiyo A. Matsumoto
August 19, 2020
Page 3

         Finally, because of the injuries he suffered from the police shooting as well as his history of
asthma, Mr. Smothers faces an increased risk of serious illness from COVID-19. The lack of social
distancing and poor hygiene in prisons and jails encourages the spread of COVID-19, and the severe
outbreaks and loss of life within BOP facilities are well documented. There have been 41 confirmed
COVID-19 cases among MDC inmates since the beginning of the pandemic, and there are currently
three active cases among the facility’s staff. 1 Throughout the BOP system, there have been 114 federal
inmate deaths from COVID-19 to date. See id. While the number of deaths is seemingly small, the death
rate for federal prisoners as a percentage of the inmate population is more than 50% higher than the
death rate in the United States generally. 2 Thus, notwithstanding the measures taken by the BOP to
reduce the spread of the diseases within its facilities, federal jails and prisons demonstrably increase the
risk of serious illness from COVID-19 – especially for people, like Mr. Smothers, with serious
underlying medical issues. Given the consensus that a resurgence of cases in New York is likely in the
months ahead, bail should be granted to protect Mr. Smothers from contracting the disease in the MDC.
See United States v. Prince, 19-CR-452 (PKC) (EDNY) (granting bail subject to conditions, over
government objection, to defendant with asthma charged with felon in possession); United States v.
Jackson, 19-CR-356 (ARR) (EDNY) (releasing, over government objection, defendant with asthma in
felon-in-possession case in which defendant had previously violated bail conditions).

        Finally, I have been unable to communicate with Mr. Smothers regularly because of the
conditions of his detention in the MDC, which have obstructed his access to counsel. As the Court may
recall, Mr. Smothers indicated at the August 3, 2020 conference that he had not had an opportunity to
speak to me about certain issues, including his consent to proceed remotely by telephone. Although Mr.
Smothers and I had spoken by telephone twice in the preceding week – on July 27 and July 31 – those
calls were limited in duration because of the high demand for attorney-client telephone calls. Since the
outbreak of the pandemic, it has been possible to speak to clients in the MDC only for short periods of
time, and calls that are scheduled days in advance are sometimes cancelled without notice. Since the
August 3 conference, the difficulty of communicating with Mr. Smothers (and other inmates housed on
the fifth and sixth floors of the MDC) has increased. Immediately after the August 3 conference, I
requested a one-hour call with Mr. Smothers, which was scheduled for August 6. That call never
occurred, however, because of a safety issue in the MDC not related to COVID-19. (Indeed, all my
scheduled calls with MDC inmates on August 6 were cancelled without explanation.) I attempted to
reschedule the call with Mr. Smothers on the following day, but we were not provided a one-hour time
slot until August 17 – two weeks after my original request for an attorney-client call. When I finally was
able to speak with Mr. Smothers, I learned that he and the other inmates in his unit had been confined to
their cells 24 hours a day for approximately 12 of the 14 days since the August 3 conference. During that

1See COVID-19 Cases, Federal Bureau of Prisons, at https://www.bop.gov/coronavirus/ (updated Aug.
19, 2020).
2 The pre-pandemic federal inmate population was approximately 140,000. 114 COVID-19 deaths out of
a population of 140,000 is equivalent to 81.4 deaths per 100,000 people. By contrast, the national death
rate is 52.52 per 100,000 population, according to Johns Hopkins University. See Mortality Analysis¸
Johns Hopkins University of Medicine, at https://coronavirus.jhu.edu/data/mortality (last visited Aug.
19, 2020).
      Case 1:20-cr-00213-KAM Document 84 Filed 08/19/20 Page 4 of 4 PageID #: 286

Hon. Kiyo A. Matsumoto
August 19, 2020
Page 4

time, Mr. Smothers has been unable to access computers to review discovery or to send messages to me
or his family or to use the phones. The inmates in Mr. Smothers’ unit are allowed out of their cells only
to take showers three days a week. Otherwise, they are continually locked up. Under these conditions of
detention, Mr. Smothers is being denied access to counsel and even the opportunity to review the
discovery.

       For the foregoing reasons, Mr. Smothers respectfully requests that the Court grant bail subject to
the conditions set forth above.

Respectfully submitted,

/s/
Zachary S. Taylor

cc:    Margaret Gandy, Esq.
       Jonathan Siegel, Esq.
              Assistant United States Attorneys (by ECF and email)
